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 1
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 6   BRENDA K. KRUSE
 7
                          UNITED STATES DISTRICT COURT
 8
 9                     SOUTHERN DISTRICT OF CALIFORNIA

10
11                                            Case No.: 3:23-cv-01332-WQH-KSC

12                                            FIRST AMENDED COMPLAINT FOR
                                                  VIOLATIONS OF:
13                                            (1) CAL. CIV. CODE § 1793.2 (D)
                                                  (SONG BEVERLY CONSUMER
14   BRENDA K. KRUSE, an individual,              WARRANTY ACT);
                                              (2) VIOLATION OF CAL. CIV. CODE
15   Plaintiff,                                   § 1793.2 (B) (SONG BEVERLY
                                                  CONSUMER WARRANTY ACT);
16   v.                                       (3) VIOLATION OF CAL. CIV. CODE
                                                  § 1793.2 (A)(3) (SONG BEVERLY
17   FORD MOTOR COMPANY, a                        CONSUMER WARRANTY ACT);
     Delaware Corporation, and                (4) VIOLATION OF CAL CIV. CODE
18                                                § 1791.2(A) & § 1794 (SONG
     JAYCO, INC., an Indiana Corporation,         BEVERLY CONSUMER
19                                                WARRANTY ACT);
     Defendants.                              (5) VIOLATION OF CAL CIV. CODE
20                                                § 1791.1 & § 1794 (SONG
                                                  BEVERLY CONSUMER
21                                                WARRANTY ACT);
                                              (6) VIOLATIONS OF 15 U.S.C. §§
22                                                2301(6) AND 2310(D)(1) AND (2)
                                                  (MAGNUSON-MOSS
23                                                WARRANTY ACT); AND
                                              (7) VIOLATIONS OF 15 U.S.C. §§
24                                                2301(7) AND 2310(D)(1) AND (2)
                                                  (MAGNUSON-MOSS
25                                                WARRANTY ACT)
26                                            JURY TRIAL DEMANDED
27
28

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 1
 2                             COMPLAINT FOR DAMAGES
 3                                        INTRODUCTION
 4   1. BRENDA K. KRUSE (hereinafter referred to as “Plaintiff”), by and through
 5       her Counsel of record, brings this action against FORD MOTOR
 6       COMPANY (hereinafter referred to as “FORD”) and against JAYCO, INC.
 7       (hereinafter referred to as “JAYCO” and together with FORD,
 8       “Defendants”) pertaining to actions by Defendants in violation of
 9       California’s Song Beverly Consumer Warranty Act, and in violation of the
10       Federal Magnuson-Moss Warranty Act.
11   2. Plaintiff makes the allegations contained herein on information and belief,
12       except as to those allegations regarding herself, which are made on personal
13       knowledge.
14                              JURISDICTION AND VENUE
15   3. This Court has jurisdiction over Defendants, pursuant to 28 U.S.C. § 1331, as
16       the unlawful practices alleged herein involve a federal question under 15
17       U.S.C. § 2301 et. seq. (“Magnuson-Moss Warranty Act”).
18   4. This action is based in part on Defendants’ violations of 15 U.S.C. §2301 et.
19       seq., therefore this Court has supplemental jurisdiction pursuant to 28 U.S.C.
20       § 1367(a) over all of Plaintiff’s other California claims because said claims
21       are so related to the federal claims in the action within such original
22       jurisdiction that they form part of the same case or controversy under Article
23       III of the United States Constitution.
24   5. Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(b)(1)-(2),
25       because some of the unlawful practices and violations of law alleged herein
26       occurred in the County of San Diego, California. Furthermore, Defendants
27       regularly conduct business within State of California, County of San Diego.
28

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 1
 2                                        PARTIES
 3   6. Plaintiff is, and was at all times mentioned herein, a natural person residing
 4       in Temecula, California.
 5   7. Plaintiff is a “buyer” of consumer goods under Cal. Civ. C. § 1791(b).
 6   8. Plaintiff is a “consumer” as defined in 15 U.S.C. § 2301(3).
 7   9. FORD is a foreign Corporation created under the laws of the State of
 8       Delaware. FORD is an American multinational automaker that has its main
 9       headquarters in Dearborn, Michigan. FORD’s primary business purpose is
10       the manufacture and sale of automobiles. FORD regularly conducts business
11       and has sufficient contacts such that personal jurisdiction exists over FORD
12       within the Southern District of California.
13   10. JAYCO is a foreign Corporation created under the laws of the State of
14       Indiana. JAYCO is an American multinational manufacturer of recreational
15       vehicles that has its main headquarters in Middlebury, Indiana. JAYCO’s
16       primary business purpose is the manufacture and sale of recreational
17       vehicles, including under its subsidiary brand name Entegra Coach. JAYCO
18       regularly conducts business and has sufficient contacts such that personal
19       jurisdiction exists over JAYCO within the Southern District of California.
20   11. Defendants are “manufacturers” and/or a “distributors” as that term is
21       defined under the Song-Beverly Act.
22   12. Defendants are entities engaged in the business of manufacturing,
23       distributing, or selling consumer goods at retail.
24   13. Defendants are a “Supplier” and a “Warrantor” as that term is defined under
25       15 U.S.C. §§ 2301(4), and (5).
26                               GENERAL ALLEGATIONS
27   14. Plaintiff incorporates by reference and realleges Paragraphs 1-13 above as if
28       fully stated herein.
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 1   15. The claims identified in this Complaint arise out of the purchase and sale of
 2       a recreational vehicle from Richardson’s RV Centers, Inc., located in
 3       Menifee, California. Richardson’s RV Centers is now occupied by Camping
 4       World RV Sales, which has dealerships throughout California, including
 5       within the County of San Diego, State of California.
 6   16. On or about January 6, 2021, Plaintiff purchased a new 2021 Entegra Vision
 7       XL with Vehicle Identification Number (“VIN”) 1F66F5DN3L0A09875 (the
 8       “Vehicle”) which was manufactured, distributed, or sold by Defendants. The
 9       total consideration Plaintiff paid or agreed to pay, including taxes and fees
10       was $242,382.40.
11   17. Entegra Coach is a brand offering by JAYCO.
12   18. The Vehicle was manufactured by Defendants and Defendants provided an
13       express warranty in connection with the sale of the Vehicle. In the express
14       warranty, Defendants undertook to preserve or maintain the utility or
15       performance of the Vehicle or to provide compensation if there was a failure
16       in utility or performance for a specified period of time. The express warranty
17       provided, in relevant part, that in the event a defect developed with the
18       Vehicle during the warranty period, Plaintiff could deliver the Vehicle for
19       repair services to an authorized dealership, and the Vehicle would be repaired
20       by Defendants or one of its designated agents.
21   19. The Vehicle was purchased and used primarily for personal, family, or
22       household purposes.
23   20. Essentially immediately after Plaintiff purchased the Vehicle, it began
24       exhibiting signs of significant mechanical defects.
25   21. Less than 700 miles and just two-weeks after delivery, the Vehicle literally
26       began falling apart. This includes flooring pieces coming off, the shower
27       detaching from the wall, and including but not limited to the wheel well
28

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 1       hanging down and dragging on the tires. Eventually, the entire coach began
 2       separating from the Vehicle’s chassis.
 3   22. Additionally, several other important components of the Vehicle are
 4       defective including the improperly cooled and overheating generator, which
 5       was so hot that it caused metal brackets inside the coach to heat up and burn
 6       Plaintiff’s foot, the Vehicle emitting a harsh squeal from the front dash, wind
 7       whistling and leakage from the windows, defective air conditioner which
 8       failed while Plaintiff was in high temperatures with her grandchildren,
 9       improper glue which leaked all over the coach, the slide ripping the
10       baseboards, and additional leaks from the roof of the Vehicle.
11   23. Plaintiff delivered the Vehicle to Defendants’ agent for repair on at least
12       twelve (12) separate occasions.
13   24. In fact, the Vehicle was inoperable and in for repair over six (6) months of
14       just the first one (1) year Plaintiff owned the Vehicle.
15   25. Accordingly, during the warranty period, the Vehicle contained or developed
16       various defects indicating that the Vehicle was sold with defective systems
17       including but not limited to defective building quality and workmanship,
18       chassis, air conditioning and braking systems, safety systems, and interior
19       components, rendering the Vehicle wholly inoperable. Plaintiff cannot safely
20       rely on the Vehicle for normal operation.
21   26. Plaintiff continually voiced her many concerns to Defendants and demanded
22       Defendants repurchase the Vehicle.
23   27. As of the date of this Complaint, the Vehicle remains significantly defective
24       and unsafe to operate; and Defendants have refused to repurchase the
25       Vehicle.
26   28. Defendants’ breach of warranty is willful.
27   29. Moreover, as the Vehicle was intended to be used by Plaintiff and her family,
28       she spent significant amounts of money in preventative care and upgrades, a
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 1       financial determent to Plaintiff that she would not have suffered but for
 2       Defendants’ willful breach of warranty.
 3                                   CAUSES OF ACTION
 4                                                I.
 5                               FIRST CAUSE OF ACTION
 6                    VIOLATION OF CAL. CIV. CODE § 1793.2(d)
 7                 (SONG BEVERLY CONSUMER WARRANTY ACT)
 8                            (AGAINST ALL DEFENDANTS)
 9   30. Plaintiff incorporates paragraph 1-29 by reference as though fully set forth
10       herein.
11   31. On or about January 23, 2021, Plaintiff delivered the Vehicle to Defendants
12       and their representatives to repair the defects.
13   32. Defendants and their representatives have been unable to service or repair the
14       Vehicle to conform to the applicable express warranty after a reasonable
15       number of opportunities.
16   33. Defendants failed to promptly replace the Vehicle or make restitution to
17       Plaintiff as required by Cal. Civ. Code § 1793.2(d) and Cal. Civ. Code
18       §1793.1(a)(2).
19   34. Plaintiff has been damaged by Defendants’ failure to comply with their
20       obligations pursuant to Cal. Civ. Code § 1793.2(d) and Cal. Civ. Code
21       §1793.1(a)(2), and brings this cause of action pursuant to Cal. Civ. Code §
22       1794.
23   35. Defendants’ failure to comply with their obligations under Cal. Civ. Code §
24       1793.2(d) were willful in that Defendants and their representatives were
25       aware that they were unable to service or repair the Vehicle to conform to the
26       applicable express warranties after a reasonable number of repair attempts.
27       Despite this, Defendants failed and/or refused to actually fully replace the
28       Vehicle or make restitution. Accordingly, Plaintiff is entitled to a civil
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 1       penalty of two times Plaintiff’s actual damages pursuant to Cal. Civ. Code §
 2       1794(c).
 3                                            II.
 4                             SECOND CAUSE OF ACTION
 5                    VIOLATION OF CAL. CIV. CODE § 1793.2(b)
 6                 (SONG BEVERLY CONSUMER WARRANTY ACT)
 7                            (AGAINST ALL DEFENDANTS)
 8   36. Plaintiff incorporates paragraph 1-35 by reference as though fully set forth
 9       herein.
10   37. Although Plaintiff presented the Vehicle to Defendants’ designated repair
11       facility for service and repair, Defendants failed to commence the service or
12       repairs within a reasonable time period, and failed to service or repair the
13       Vehicle so as to conform to the applicable warranty within 30 days, pursuant
14       to Cal. Civ. Code § 1793.2(b).
15   38. At no time did Plaintiff extend the time for completion of repairs beyond the
16       30-day requirement.
17   39. Plaintiff has been damaged by Defendants’ failure to comply with their
18       obligations pursuant to Cal. Civ. Code §1793.2(b), and thus Plaintiff has a
19       statutory cause of action against Defendants pursuant to Cal. Civ. Code §
20       1794.
21   40. Accordingly, Plaintiff seeks the remedies provided in Cal. Civ. Code §
22       1794(b)(1), or alternatively, those set forth in Cal. Civ. Code § 1794(b)(2),
23       including the diminution in the value of the Vehicle resulting from its
24       defects. Through information and belief, Plaintiff believes that, at the present
25       time, the Vehicle’s value (due to the severity of defects referenced in this
26       Complaint), is de minimis.
27   41. Defendants’ failure to comply with their obligation under Cal. Civ. Code
28       §1793.2(b) was willful, in that Defendants and their representatives were
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 1       aware that they were obligated to service or repair the Vehicle to conform to
 2       the applicable express warranties within 30 days, yet they failed to do so.
 3       Additionally, Plaintiff demanded in writing that Defendants repurchase the
 4       Vehicle, but Defendants refused.
 5   42. Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiff’s
 6       actual damages pursuant to Cal. Civ. Code § 1794(c).
 7                                             III.
 8                               THIRD CAUSE OF ACTION
 9                  VIOLATION OF CAL. CIV. CODE § 1793.2(a)(3)
10                 (SONG BEVERLY CONSUMER WARRANTY ACT)
11                            (AGAINST ALL DEFENDANTS)
12   43. Plaintiff incorporates paragraph 1-42 by reference as though fully set forth
13       herein.
14   44. Defendants failed to make available to the authorized service and repair
15       facilities, sufficient service literature and replacement parts to effect repairs
16       during the express warranty period.
17   45. Plaintiff has been damaged by Defendants’ failure to comply with their
18       obligations pursuant to Cal. Civ. Code §1793.2(a)(3), and therefore brings
19       this cause of action pursuant to Cal. Civ. Code § 1794.
20   46. Defendants’ failure to comply with its obligations under Cal. Civ. Code §
21       1793.2(a)(3) was willful, in that Defendants knew of their obligation to
22       provide literature and replacement parts sufficient to allow their designated
23       repair facility, or other authorized repair facilities, to effect repairs during the
24       warranty period, yet Defendants failed to take any action to correct its failure
25       to comply with the law. Accordingly, Plaintiff is entitled to a civil penalty of
26       two times Plaintiff’s actual damages pursuant to Cal. Civ. Code § 1794(c).
27                                             IV.
28                             FOURTH CAUSE OF ACTION
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 1                 VIOLATION OF CAL CIV. CODE §§ 1791.2(a) & 1794
 2                 (SONG BEVERLY CONSUMER WARRANTY ACT)
 3                            (AGAINST ALL DEFENDANTS)
 4   47. Plaintiff incorporates paragraph 1-46 by reference as though fully set forth
 5       herein.
 6   48. In accordance with Defendants’ express warranties, Plaintiff delivered the
 7       Vehicle to Defendants’ designated repair facility in reasonable time, which
 8       were Defendants’ authorized representatives in to perform said warranty
 9       repairs on the Vehicle.
10   49. Each time Plaintiff delivered the Vehicle to the designated repair facilities,
11       Plaintiff notified Defendants by and through their representatives of the
12       characteristics of the defects. Despite this, Defendants by and through its
13       authorized designated repair facilities failed to repair the Vehicle, thus
14       breaching the terms of the written warranty.
15   50. Plaintiff has been damaged by Defendants’ failure to comply with their
16       obligations under the express warranty, and therefore brings this cause of
17       action pursuant to Cal. Civ. Code § 1794.
18   51. Defendants’ failure to comply with their obligations under the express
19       warranty were willful, in that Defendants were aware that they were
20       obligated to repair the defects, but they intentionally refused to do so and
21       refused to repurchase the Vehicle.
22   52. Accordingly, Plaintiff is entitled to a civil penalty of two times Plaintiff’s
23       actual damages pursuant to Cal. Civ. Code § 1794(c).
24                                             V.
25                               FIFTH CAUSE OF ACTION
26                 VIOLATION OF CAL CIV. CODE § 1791.1 & § 1794
27                 (SONG BEVERLY CONSUMER WARRANTY ACT)
28                            (AGAINST ALL DEFENDANTS)
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 1   53. Plaintiff incorporates paragraph 1-52 by reference as though fully set forth
 2       herein.
 3   54. Pursuant to Cal. Civ. Code § 1792, the sale of the Vehicle was accompanied
 4       by Defendants’ implied warranty of merchantability. Pursuant to Cal Civ.
 5       Code §1791.1, the duration of the implied warranty is coextensive in duration
 6       with the duration of the express written warranty provided by Defendants,
 7       except that the duration is not to exceed one year.
 8   55. Pursuant to Cal. Civ. Code § 1791.1(a), the implied warranty of
 9       merchantability means and includes that the Vehicle would comply with each
10       of the following requirements: (1) The Vehicle would pass without objection
11       in the trade under the contract description; (2) the Vehicle was fit for the
12       ordinary purpose for which it was sold or used; (3) The Vehicle was
13       adequately contained, packaged, and labeled; (4) The Vehicle would conform
14       to the premises or affirmations of fact made on the container or label.
15   56. At the time of purchase, or within one year thereafter, the Vehicle contained
16       or developed the defects described within this Complaint. The existence of
17       each of these defects constitutes a breach of the implied warranty, because
18       the Vehicle (1) did not pass without objection in the trade under the contract
19       description; (2) was not fit for the ordinary purpose for which it was sold or
20       used; (3) was not adequately contained, packaged, or labeled; and (4) did not
21       conform to the promises or affirmations of fact made on the container or
22       label.
23   57. Plaintiff has been damaged by Defendants’ failure to comply with their
24       obligations under the implied warranty, and therefore bring this Cause of
25       Action pursuant to Cal. Civ. Code § 1794.
26                                           VI.
27                               SIXTH CAUSE OF ACTION
28           VIOLATIONS OF 15 U.S.C. §§ 2301(6) and 2310(d)(1) and (2)
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 1                       (MAGNUSON-MOSS WARRANTY ACT)
 2                            (AGAINST ALL DEFENDANTS)
 3   58. Plaintiff incorporates paragraph 1-57 by reference as though fully set forth
 4       herein.
 5   59. The Vehicle is a “Consumer Product” as defined in 15 U.S.C. § 2301(1).
 6   60. The express written warranty provided by Defendants is a “Written
 7       Warranty” as defined by 15 U.S.C. § 2301(6).
 8   61. Plaintiff brought the Vehicle into an authorized dealership and/or agent of
 9       Defendants, which were designated to perform repairs on the Vehicle under
10       the express warranty, but the Vehicle remains defective and unrepaired.
11   62. The above-described actions (failure to repair and/or properly repair the
12       defects described herein), including failure to honor the written warranty,
13       constitute a breach of the written warranty by Defendants under 15 U.S.C. §§
14       2310(d)(1)&(2).
15   63. As a direct result of the omissions by Defendants, Plaintiff suffered
16       monetary damages.
17                                          VII.
18                            SEVENTH CAUSE OF ACTION
19      VIOLATIONS OF 15 U.S.C. § 2301(7) & 15 U.S.C. §§ 2310(d)(1) & (2)
20                         (MAGNUSON-MOSS WARRANTY ACT)
21                            (AGAINST ALL DEFENDANTS)
22   64. Plaintiff incorporates paragraph 1-63 by reference as though fully set forth
23       herein.
24   65. The Vehicle is a “Consumer Product” as defined in 15 U.S.C. § 2301(1).
25   66. Plaintiff brought the Vehicle into an authorized dealership and/or agent of
26       Defendants which were designated to perform repairs on the Vehicle under
27       the express warranty, but the Vehicle still not been repaired.
28   67. The Vehicle was subject to an “implied warranty” as that term is defined in
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 1       15 U.S.C. § 2301(7) pursuant to Cal. Civ. Code § 1791.1, the Vehicle was
 2       subject to an implied warranty of merchantability.
 3   68. The above-described actions (failure to repair and/or properly repair the
 4       defects described herein), constitute a breach of the implied warranty of
 5       merchantability pursuant to 15 U.S.C. §§2301(7) and (8).
 6   69. The above-described actions (failure to repair and/or properly repair the
 7       defects described herein), including failure to honor the implied warranty of
 8       merchantability, make Defendants liable to Plaintiff under 15 U.S.C. §§
 9       2310(d)(1) and (2).
10   70. As a direct result of the omissions by Defendants, Plaintiff suffered monetary
11       damages
12                                  PRAYER FOR RELIEF
13   WHEREFORE, Plaintiff having set forth the claims for relief against Defendants
14       Ford Motor Company and Jayco, Inc. herein, respectfully requests this Court
15       enter a Judgment against Defendants as follows:
16
17   (1) AS TO THE FIRST, SECOND, THIRD, FOURTH, AND FIFTH CAUSES
18       OF ACTION:
19   a. Plaintiff is entitled to reimbursement of the price paid for the Vehicle;
20   b. Plaintiff is additionally entitled to all incidental, consequential, and general
21       damages subject to proof at trial resulting from Defendants’ failure to comply
22       with their obligations under the Song-Beverly Act;
23   c. Plaintiff is additionally entitled to a sum equal to the aggregate amount of
24       costs and expenses, including attorney’s fees reasonably incurred in
25       connection with the commencement and prosecution of this action, pursuant
26       to the Song-Beverly Act; and
27   d. Plaintiff is additionally entitled to a civil penalty of to two times the amount
28       of actual damages as Defendants have willfully failed to comply with their
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 1       obligations under the Song-Beverly Act.
 2
 3   (2) AS TO THE SIXTH AND SEVENTH CAUSES OF ACTION:
 4   a. A determination that acceptance of the Vehicle has been properly revoked by
 5       Plaintiff and for damages incurred in revoking acceptance;
 6   b. A refund of the purchase price paid by Plaintiff for the Vehicle;
 7   c. Cancellation of Plaintiff’s Original Purchase Agreement and payment in full
 8       of the balance of same;
 9   d. Consequential, incidental, and actual damages subject to proof at trial; and
10   e. Costs and expenses including actual attorneys’ fees and costs reasonably
11       incurred.
12
13   (3) AS TO ANY JUDGMENT ENTERED HEREON
14   a. For prejudgment and post judgment interest on all amounts awarded; and
15   b. For such other and further relief as the Court may deem just and proper.
16
     Dated: August 1, 2023                   REDWOOD LAW GROUP, APC
17
18                                        By: /s/ Derek Soinski
                                             Derek A. Soinski, Esq.
19                                           Attorney for Plaintiff
                                             BRENDA K. KRUSE
20                                           E-Mail: derek@redwoodlawgroup.com
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 1
 2                              DEMAND FOR JURY TRIAL
 3
         Pursuant to the Seventh Amendment to the Constitution of the United States
 4
 5       of America, Plaintiff is entitled to, and demands, a trial by jury on all issues

 6       triable by a jury.
 7
 8
     Dated: August 1, 2023                    REDWOOD LAW GROUP, APC
 9
10
                                          By: /s/ Derek Soinski
11                                           Derek A. Soinski, Esq.
                                             Attorney for Plaintiff
12                                           BRENDA K. KRUSE
                                             E-Mail: derek@redwoodlawgroup.com
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